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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


J.G.G., et al.,

Plaintiffs–Petitioners,

                             v.                               No: 1:25-cv-00766-JEB

DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

Defendants–Respondents.



        PLAINTIFFS’ NOTICE REGARDING THE COURT’S MARCH 19 ORDER
             REQUIRING DEFENDANTS TO PROVIDE INFORMATION

        In response to this Court’s factual inquiries about whether its March 15 oral and written

Temporary Restraining Orders were violated, Plaintiffs make a few brief points, and request the

opportunity to respond further on March 31 should the government invoke the state secrets

privilege. See Order (ECF No. 47).

        First, there are already sufficient undisputed facts in the record and in the public domain

for this Court to find that its Orders were violated. Plaintiffs recognize that the Court

understandably wishes ultimately to gather all of the facts and to create a complete record.

Nonetheless, the consequences of Defendants’ violations—that the individuals sent to El

Salvador are being held incommunicado in a prison known for horrible conditions, where they

face immediate and grave harm—militate in favor of further immediate relief, in light of facts

already known.

        Those facts include two new declarations submitted with this Notice and referenced by

undersigned counsel at the March 21 hearing. The first is from a Venezuelan woman who states



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(1) that the government sought to remove her on Thursday, March 13 and Friday, March 14

(before the Proclamation was published on Saturday March 15); (2) that on Saturday March 15

she was on one of the planes that landed in El Salvador along with Venezuelan men, but she was

ultimately brought back to the United States and detained because Salvadoran officials informed

United States officials that their President would not take women, (3) that there were seven other

Venezuelan woman who were returned with her; and (4) that shortly after takeoff she overheard

discussions by government officials showing awareness of the Court’s Order. Ex. A. The second

declaration is from a Nicaraguan man who was also returned from El Salvador when officials

realized that he was not Venezuelan. Ex. B. These declarations are submitted to refute the

government’s contention that it was not “feasibl[e]” for the planes to bring anyone back, and that

this Court did not account for practical considerations like whether the planes “had enough fuel”

to turn around. Defs. Mot. to Stay Mar. 18 Order at 2 (ECF No. 37). 1

       In addition, public information shows that two planes were still in the air when the Court

issued both its oral and written Orders. Most significantly, based on information publicized by

U.S. government officials and publicly available flight data, at least two flights took off during

the hearing on March 15—one at 5:26pm EDT and the other at 5:45pm EDT—and landed well

after this Court’s written Order had been filed. See Pls. Resp. to Defs. Notice (ECF No. 21); see

also Joyce Sohyun Lee and Kevin Schaul, Deportation Flights Landed after Judge Said Planes

Should Turn Around, Wash. Post (Mar. 16, 2025). 2 And the video released by President Bukele

that shows Plaintiff class members being hauled off the planes in El Salvador includes each



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  In Grace v. Barr, No. 1:18-cv-1853, the plane landed in El Salvador and, upon order of Judge
Sullivan, returned to the United States. Grace v. Sessions, No. 1:18-cv-1853, ECF No. 29 ¶¶ 12-
14.
2
  https://www.washingtonpost.com/immigration/2025/03/16/deportation-flights-trump-el-
salvador [https://perma.cc/Q6NH-ATY8].


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plane’s tail number. 3 That video was then reposted by both President Trump 4 and Secretary of

State Rubio. 5

       Whether the planes were in U.S. airspace at the time the Orders were issued is not

relevant. The Court’s Orders unequivocally covered situations where Plaintiff class members

were still in U.S. custody, whether or not in U.S. airspace. Indeed, that was the point of the

Court’s discussion at the hearing regarding the need for Defendants to move quickly to avoid

immediate harm and the government’s potential arguments that the Court would lose jurisdiction

if individuals were turned over to El Salvador. See Hearing Tr. at 5, 43, 44 (Mar. 15, 2025).

       If the Court does determine that class members were unlawfully removed in violation of

the TRO, Plaintiffs respectfully request that the Court order that class members be returned

promptly to the United States. Plaintiffs note that both the United States and El Salvador have

represented that El Salvador is acting at the behest of the United States government, and the

detention is directly paid for by the United States government. See Matthew Lee & Regina

Garcia Cano, US Prepares to Deport about 300 Alleged Gang Members to El Salvador, Assoc.

Press (Mar. 15, 2025) (describing agreement in which the United States will pay El Salvador to

imprison Venezuelans transferred from the U.S.). 6

       And as the Court has already found, Salvadoran prisons are notoriously dangerous and

life-threatening. Pls. Opp. at 37–38 (ECF No. 44); Order on Motion to Vacate TRO at 33-35

(ECF No. 53). Plaintiffs’ expert reports detail conditions that amount to torture—including




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  https://x.com/nayibbukele/status/1901245427216978290 [https://perma.cc/BM73-547H].
4
  https://truthsocial.com/@realDonaldTrump/posts/114173862724361939
[https://perma.cc/67LY-FREW].
5
  https://x.com/SecRubio/status/1901252043517432213 [https://perma.cc/RXH4-XH4R].
6
  https://apnews.com/article/trump-deportations-salvador-tren-aragua-
64e72142a171ea57c869c3b35eeecce7 [https://perma.cc/2RWA-XLBB].


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suffocation, burning, mock executions, electric shocks, and public beatings. Bishop Decl. ¶¶ 35,

37, 40. Such torture is a “habitual practice” rather than “isolated incidents,” and death is a real

possibility. Id. ¶¶ 32 43–50. Any doubt about how these men will be treated is dispelled by the

video released by Salvadoran officials (and applauded by President Trump and Secretary Rubio),

which showed the men chained and transported into a maximum-security prison.

         Finally, in light of the Court’s inquiries at the March 21 hearing about the significant gap

in time between the Proclamation’s signing and publication, Plaintiffs note that there is now

confusion as to when the Proclamation was issued—and whether the President signed it at all.

See Jeff Zeleny & Kit Maher, Trump Says He Didn’t Sign Proclamation Invoking Alien Enemies

Act, CNN (Mar. 22, 2025) (Trump: “I don’t know when it was signed, because I didn’t sign it.

Other people handled it, but (Secretary of State) Marco Rubio has done a great job and he

wanted them out and we go along with that.”); 7 Kelsey Walsh, White House Backtracks on

Trump Statement that He Didn’t Sign Alien Enemies Act Order, ABC News (Mar. 20, 2025)

(White House press office’s statement that “President Trump was obviously referring to the

original Alien Enemies Act that was signed back in 1798,” quoting White House spokesman

Steven Cheung). 8



    Dated: March 24, 2025                             Respectfully submitted,

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    Oscar Sarabia Roman                               Lee Gelernt (D.D.C. Bar No. NY0408)
    My Khanh Ngo                                      Daniel Galindo (D.D.C. Bar No. NY035)


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  https://www.cnn.com/2025/03/21/politics/trump-signature-alien-enemies-act-
proclamation/index.html [https://perma.cc/Y9MV-4YTQ]. Video of the President making that
statement is available at https://www.cnn.com/2025/03/21/politics/trump-signature-alien-
enemies-act-proclamation/index.html (at 1:29) [https://perma.cc/P8WX-S4BV].
8
  https://abcnews.go.com/Politics/live-updates/donald-trump-second-
term/?id=119864095&entryId=120061457 [https://perma.cc/EV9A-FYVB].


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                                              Attorneys for Plaintiffs-Petitioners




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2025, I electronically filed the foregoing with the Clerk

of the Court for the United States District Court for the District of Columbia by using the

CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.

 Dated: March 24, 2025                               Respectfully Submitted,

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